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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

In re:                                                  Chapter 11

USA GYMNASTICS, INC.,                                   Case No. 18-09108-RLM-11

Debtor.                                                 Adv. Proc. No. 1:19-ap-50012


USA GYMNASTICS, INC.,                                   )
                                                        )
Plaintiff,                                              )
                                                        )
                vs.                                     )
                                                        )
LIBERTY INSURANCE UNDERWRITERS INC.,                    )
                                                        )
Defendant.                                              )

USA GYMNASTICS’ UNOPPOSED MOTION TO EXTEND DISCOVERY DEADLINES

         Plaintiff USA Gymnastics, Inc. (“USAG”), with no objection from Defendant Liberty

Insurance Underwriters, Inc. (“LIU”), moves to extend the discovery deadlines imposed by the

Court as more fully explained below. In support of its motion, USAG states:

         1.    On May 18, 2022, the Court granted LIU’s Rule 56(d) motion to take discovery in

connection with USAG’s Motion for Partial Summary Judgment on Indemnity. [Adv. Dkt. 657, at

2.] That Order directed the parties to complete written discovery by July 25, 2022, to complete

depositions by August 29, 2022, and to complete expert discovery by September 30, 2022. [Id.]

By separate order, the Court made LIU’s response to the summary-judgment motion due by

October 28, 2022. [Adv. Dkt. 658, at 2.]

         2.    Because of the volume of discovery requests served by LIU, USAG moved to

extend the deadlines. [Adv. Dkt. 673.] The Court granted the motion and directed the parties to

complete written discovery by August 26, 2022. [Adv. Dkt. 674, at 2.] It further ordered
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depositions completed by September 23, 2022, expert discovery completed by October 21, 2022,

and made LIU’s response due on November 18, 2022. [Id.]

        3.      USAG responded to LIU’s document requests on August 5, 2022. After securing a

confidentiality and protective order [Adv. Dkt. 678], USAG produced approximately 66,000 pages

of responsive documents. In turn, LIU served its written responses to USAG’s document requests

on August 12, 2022. Although LIU has indicated that it will produce some responsive documents,

it has yet to do so.

        4.      Since LIU served its response, both parties have asserted that the other’s responses

are deficient. The parties had a meet-and-confer call on August 23, 2022 and are optimistic that

many of the disputes can be resolved. However, the deadline for written discovery is today, August

26, 2022. The parties need additional time to work out their differences and, to the extent

necessary, give the Court time to resolve any discovery disputes.

        5.      USAG, in particular, needs additional time. LIU has yet to produce any documents.

USAG cannot fairly evaluate LIU’s compliance with USAG’s discovery requests without being

able to review the documents themselves.

        6.      For these reasons, USAG respectfully requests that the Court extend the time for

completing written discovery (including resolving disputes over written discovery) until

September 23, 2022. As a result, the Court should also extend the other deadlines and order

depositions completed by October 21, 2022, expert discovery complete by November 18, 2022,

and LIU’s response due by December 16, 2022.

        7.      Counsel for LIU has represented to USAG that LIU does not object to these

extensions.

        THEREFORE, USAG respectfully requests that the Court GRANT this motion and



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extend the discovery deadlines as requested in ¶6 above.



                                                    Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I hereby certify that on August 26, 2022, a copy of the foregoing was filed electronically.
Notice of this filing will be sent to the following parties through the Court’s Electronic Case
Filing System. Parties may access this filing through the Court’s system.

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                                                       /s/ Christopher E. Kozak             /




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